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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

   UNITED STATES OF AMERICA,

                 Plaintiff,
                                                      CRIMINAL NUMBER 07-20076
   v.
                                                      HON. ROBERT H. CLELAND
   D-4   MARK ESCOBAR
               Defendant.
   ___________________________________________/

                              ORDER OF EXTENSION OF TIME

          The court having reviewed Defendant Mark Escobar’s Motion to Extend

   Defendant’s Voluntary Reporting Date to Federal Criminal Institution Gilmer;

          The Court hereby grants Defendant Escobar’s motion and hereby requests that

   the U.S. Federal Bureau of Prisons enlarge Defendant Escobar’s reporting date from

   August 19, 2008, until after October 15, 2008.




                                                S/Robert H. Cleland
                                               ROBERT H. CLELAND
                                               UNITED STATES DISTRICT JUDGE


   Dated: August 5, 2008


   I hereby certify that a copy of the foregoing document was mailed to counsel of record on
   this date, August 5, 2008, by electronic and/or ordinary mail.


                                                S/Lisa Wagner
                                               Case Manager and Deputy Clerk
                                               (313) 234-5522
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   Prepared by:

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